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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SHANNA GARNER,                                         CIVIL ACTION
              Plaintiff,

             v.

CITIBANK, N.A.,                                        NO. 15-3836
                    Defendant.

                                       ORDER

      AND NOW, this 8th day of January, 2016, upon consideration of the Stipulation Of

Dismissal (ECF 15), IT IS ORDERED that the Clerk of Court shall mark this case CLOSED.

                                                BY THE COURT:


                                                /s/ Wendy Beetlestone

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                                                WENDY BEETLESTONE, J.
